            Case 2:13-mj-00006-BAT              Document 15    Filed 01/07/13      Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. MJ13-6

10          v.                                            DETENTION ORDER

11 PATRICIA DELATORRE,

12                                 Defendant.

13 Offenses charged:

14          •    Kidnapping a minor victim in interstate and foreign commerce, and
            •    Conspiracy to the same and Seizure and detention of a national of the United States.
15
     Date of Detention Hearing: January 7, 2013.
16
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
17
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
18
     finds that no condition or combination of conditions which the defendant can meet will
19
     reasonably assure the appearance of the defendant as required and the safety of any other person
20
     and the community.
21
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            Defendant is charged with an offense that carries a presumption of detention and has
23
     failed to overcome that presumption. Defendant is not a citizen and has ties to Mexico. She has


     DETENTION ORDER - 1
            Case 2:13-mj-00006-BAT          Document 15        Filed 01/07/13      Page 2 of 2




 1 the means to flee the country and to avoid prosecution. She has the incentive given the

 2 mandatory minimum 20 year prison sentence she faces if convicted. The offense is serious,

 3 involves minors and threats and occurred over a long period of time. The alleged actions

 4 indicate defendant is a danger to the community.

 5          It is therefore ORDERED:

 6          (1)    Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18          DATED this 7th day of January, 2013.

19

20

21
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
22

23



     DETENTION ORDER - 2
